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United States District Court
Eastern District of Michigan

CERTIFICATE OF GOOD STANDING

I, Kinikia D. Essix, Clerk of Court, certify that

John D Ramer

was duly admitted to practice in this Court on 07/15/2019,

and is in good standing as a member of the Bar of this Court.

Dated at Detroit, Michigan on 07/06/2022.

Kinikia D. Essix Jiscy (hompaon

 

 

 

 

Clerk Y Deputy Clerk

 

 

 

 

 

 

 

 

 

 
